     Case 1:22-cv-00865-SJB ECF No. 20, PageID.82 Filed 11/09/23 Page 1 of 1




                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION
                                         ______

KAINTE HICKEY,

                        Plaintiff,                    Case No. 1:22-cv-865
v.                                                    Honorable Sally J. Berens
UNKNOWN STUMP et al.,

                        Defendants.
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                                           JUDGMENT

         In accordance with the order issued this date:

         IT IS ORDERED that Plaintiff’s action is DISMISSED WITHOUT PREJUDICE for

lack of prosecution and failure to comply with the Court’s order.



Dated:     November 9, 2023                            /s/ Sally J. Berens
                                                      SALLY J. BERENS
                                                      United States Magistrate Judge
